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                                           BROD.^, J.
     RTPiVTN                                          *) ^ W I.
     F.#2018R01745


     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
                                            X


      UNITED STATES OF AMERICA                        INDICTMENT


             - against -                               Cr.
                                                      (T. 18, U.S.C., §§ 2251(a), 2251(e),
      ANDRE WILBURN,                                   2252(a)(4)(B), 2252(b)(2), 2253(a),
                                                       2253(b) and 3551 ^seq.; T. 21, U.S.C.,
                              Defendant.               § 853(p))

                                            X


     THE GRAND JURY CHARGES:


                                            COUNT ONE
                                   (Sexual Exploitation of a Child)

                   1.      On or about November 6, 2016, within the Southern District of New

     York,the defendant ANDRE WILBURN did knowingly and intentionally employ, use,

     persuade, induce, entice and coerce a minor, to wit: Jane Doe, an individual whose identity is

     known to the (jrand Jury, to engage in sexually explicit conduct for the purpose of producing

     one or more visual depictions of such conduct, knowing and having reason to know that such

     visual depictions would be transported and transmitted using any means and facility of

     interstate and foreign commerce and in and affecting interstate and foreign commerce, which

     visual depictions were produced and transmitted using materials that had been mailed,

     shipped and transported in and affecting interstate and foreign commerce by any means,

     including by computer, and which visual depictions were transported and transmitted using
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any means and facility of interstate and foreign commerce and in and affecting interstate and

foreign commerce.

                (Title 18, United States Code, Sections 2251(a), 2251(e) and 3551 et seq.)

                                        COUNT TWO
                              (Possession of Child Pornography)

                 2.    On or about September 6,2018, within the Southem District of New

York,the defendant ANDRE WILBURN did knowingly and intentionally possess matter

which contained one or more visual depictions, to wit: images contained on an LG LS740

Volt cellular telephone bearing serial number 411CYJZA0784236,that had been mailed, and

had been shipped and transported using a means and facility of interstate and foreign

commerce and in and affecting interstate and foreign commerce, and which were produced

using materials which had been mailed and so shipped and transported, by any means

including by computer, the production of such visual depictions having involved the use of

one or more minors engaging in sexually explicit conduct, and such visual depictions were of

such conduct.


                (Title 18, United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and

3551 et seq.)

                          CRIMINAL FORFEITURE ALLEGATION


                 3.    The United States hereby gives notice to the defendant that, upon his

conviction of either ofthe offenses charged herein, the government will seek forfeiture in

accordance with Title 18, United States Code, Section 2253(a), which requires the forfeiture

of(a)any visual depiction described in Section 2251,2251A,2252,2252A,2252B or 2260
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of Title 18 ofthe United States Code, or any book, magazine, periodical, film, videotape or

other matter which contains any such visual depiction, which was produced, transported,

mailed, shipped or received in violation ofsuch sections;(b)any property, real or personal,

constituting, or traceable to, gross profits or other proceeds obtained from such offenses; and

(c) any property, real or personal, used or intended to be used to commit or to promote the

commission of such offenses, or any property traceable to such property, including but not

limited to: one LG LS740 Volt cellular telephone bearing serial number 411CYJZA0784236,

which was seized on or about September 6,2018 from the defendant's residence.

               4.     If any ofthe above-described forfeitable property, as a result of any act

or omission ofthe defendant:


                     (a)      cannot be located upon the exercise of due diligence;

                     (b)      has been transferred or sold to, or deposited with, a third party;

                     (c)      has been placed beyond the jurisdiction ofthe court;

                     (d)      has been substantially diminished in value; or

                     (e)      has been commingled with other property which cannot be

divided without difficulty;

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

as incorporated by Title 18, United States Code, Section 2253(b), to seek forfeiture of any
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other property ofthe defendant up to the value ofthe forfeitable property described in this

forfeiture allegation.

              (Title 18, United States Code, Sections 2253(a) and 2253(b); Title 21, United

States Code, Section 853(p))



                                                                A TRUE BILL




                                                               FOREPERSON




RICHARD P. DONOGHUE
UNITED STATES ATTORNE^
EASTERN DISTRICT OF NEW YORK
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F.#20I8R01745

FORM DBD-34           No.
JUN.85


                             UNITED STATES DISTRICT COURT

                                           EASTERN District o/NEW YORK

                                                   CRIMINAL DIVISION


                                    THE UNITED STATES OF AMERICA
                                                            vs.




                                                      ANDRE WILBURN,
                                                                                  Defendant.


                                                    INDICTMENT
                      (T. 18, U.S.C., §§ 2251(a), 2251(e), 2252(a)(4)(B), 2252(b)(2), 2253(a),
                                 2253(b) and 3551 ^s^.; T. 21, U.S.C., § 853(p))



                                                    j.                              Foreperson


                      Filed in open court this                    day,

                      of                         A.D.20


                                                                                         Clerk




                      Bail, $




                            Virginia Nguyen,Special Assistant US. Attorney(718)254-6280
